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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                   EXHIBIT 3
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                                                                        Page 1

 1                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
 2                            COLUMBIA DIVISION
 3
          THE SOUTH CAROLINA              )
 4        STATE CONFERENCE OF             )
          THE NAACP, et al.,              )
 5                                        )
                                          )
 6                   Plaintiffs,          )        Case No. 3:21-CV-03302-MGL-
                                          )        TJH-RMG
 7        vs.                             )
                                          )
 8        THOMAS C.                       )
          ALEXANDER, et al.,              )
 9                                        )
                                          )
10                   Defendants.          )
                                          )
11
12
13
14                      Videotaped Remote Deposition of
15                     SENATOR GEORGE EARLE CAMPSEN, III
16                           (Taken by Plaintiffs)
17                       Isle of Palms, South Carolina
18                          Friday, August 5, 2022
19
20
21
22
23
24                         Reported in Stenotype by
                         Lauren M. McIntee, RPR, CRR
25            Transcript produced by computer-aided transcription

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                                                        Page 146                                                          Page 148
     1           MR. TRAYWICK: Object to the form.                   1      A. No, and there's nothing in the guidelines to
     2      A. Well, least change is actually like the case,         2   shore up a 5 to 2 Republican/Democrat split that Senator
     3   but it's actually a -- we would -- a reapportionment        3   Harpootlian offered either.
     4   plan in the -- it was in the '80s, the federal court        4   BY MR. CUSICK:
     5   said least change is good. If -- if you can meet all        5      Q. Anything in the guidelines requiring CD1 to
     6   other redistricting criteria, that's -- that's              6   be less politically competitive for either party?
     7   preferable. But least change reflects constituent           7      A. No, that's not in the guidelines.
     8   consistency.                                                8      Q. Do you recall shoring up a Republican
     9           It also reflects, another reason I thought          9   advantage in CD1 as coming up in the map drawing
    10   least change was good, because it -- this plan, the        10   process?
    11   benchmark plan was approved by the -- was precleared by    11      A. Yes. I was -- I took political factors into
    12   the Obama administration, upheld by federal courts, and    12   account, and that was part of the process.
    13   even confirmed by the United States Supreme Court in       13      Q. Was the partisan gains --
    14   2012. So that's a pretty good starting point.              14      A. It wasn't dominant. It didn't control
    15   BY MR. CUSICK:                                             15   everything, but it was part of the process. I could
    16      Q. But having the plan previously precleared by         16   have drawn a map much more Republican.
    17   DOJ isn't a redistricting guideline, correct?              17      Q. So would you say partisan gain was something
    18      A. I took -- no, but I took -- I'd be a fool not        18   that motivated the map that you drew?
    19   to weigh that. Districting guidelines are guidelines.      19          MR. TRAYWICK: Object to the form.
    20   They're not absolutes. There's no guideline that           20      A. It was a fact- -- it was a factor.
    21   says that I need to comply with any specific Supreme       21   BY MR. CUSICK:
    22   Court case either. The only one mentioned is Thornburg     22      Q. During any of the times you presented the map
    23   v. Gingles -- Gingles, and there's plenty other case law   23   publicly, did you ever state that?
    24   we need to comply with.                                    24      A. I -- I can't recall whether I did or not.
    25      Q. Are you aware that this case involves claims         25      Q. Would there be any reason you wouldn't state
                                                        Page 147                                                          Page 149
     1   about racial gerrymandering?                                1   that as one of the factors that was influencing your
     2        A. Yes.                                                2   drawing of a map?
     3        Q. And do you understand that's a different            3       A. Not -- not really. I mean, the -- the
     4   legal question for the standard that's used than            4   Supreme Court has held that it's -- that you use
     5   preclearance?                                               5   political -- the political gerrymandering is a
     6        A. Yes.                                                6   non-justiciable question and it is permissible. And
     7        Q. And so could a map have been precleared, but        7   it -- and I -- the map that Senator Harpootlian offered
     8   still operated as a racial gerrymander map?                 8   was -- took that into account obviously. He understands
     9        A. Well, it -- it could, but it's -- I think           9   it is a non-justiciable question as well. So he drew a
    10   it's much more unlikely when you have the Supreme Court    10   map on a Democratic district, and the Republican
    11   affirm it. I mean, I'm not going to -- I did not -- I      11   majority in the Senate adopted a map with a Republican
    12   did not think the Supreme Court would have affirmed a      12   majority in the 1st.
    13   racial gerrymandering law in 2012.                         13       Q. Are you aware that even given your
    14            THE VIDEOGRAPHER: Sorry. Will you repeat          14   explanation of federal case law, that a map could still
    15       that, Senator? It kind of was a little faint on my     15   be challenged in state court as a partisan gerrymander?
    16       end.                                                   16            MR. TRAYWICK: Object to the form.
    17        A. I found it very unlikely that the US Supreme       17       A. Yes, I'm -- I'm aware that that could happen.
    18   Court and the -- and the Obama Justice Department would    18   BY MR. CUSICK:
    19   have precleared a racially gerrymandered map in 2012. I    19       Q. You've talked about some of the Supreme Court
    20   found that very unlikely.                                  20   case law. Are you aware of any case law that harming
    21   BY MR. CUSICK:                                             21   racial minorities for political advantage could run
    22        Q. Is there anything in the guidelines that           22   afoul of federal law?
    23   prioritizes shoring up a 6 to 1 Republican split for       23       A. Can you say that question again?
    24   congressional districts?                                   24       Q. Yeah. If -- if you were using partisanship
    25            MR. TRAYWICK: Object to the form.                 25   as a way to harm racial minorities, could that also run

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